79 F.3d 1167
    NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Andrew LOCKHART, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 96-3050.
    United States Court of Appeals, Federal Circuit.
    March 8, 1996.
    ORDER
    
      1
      Upon consideration of Andrew Lockhart's motion to voluntarily dismiss his petition for review,
    
    IT IS ORDERED THAT:
    
      2
      (1) Lockhart's motion is granted.   The petition is dismissed.
    
    
      3
      (2) Lockhart's motion to remand is moot.
    
    
      4
      (3) Each side shall bear its own costs.
    
    